        Case 1-22-11558-rmb             Doc 136 Filed 05/18/23 Entered 05/19/23 08:58:53                          Desc
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                                           U.S. BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WISCONSIN
                                            Honorable Rachel M. Blise
                                                  May 18, 2023
                                                Court Proceeding Memo
 1-22-11558-rmb         Jennifer McKinney and Israel R. McKinney                      Chapter 13
                                                                                      Trustee: Mark Harring
 Appearances:           Greg P. Pittman, Attorney for Debtors
                        Theresa Anzivino, Attorney for IRS
                        Leslie Brodhead Griffith, Attorney for Chapter 13 Trustee

 Matter:     Preliminary hearing on Confirmation of Amended Chapter 13 Plan (Doc # 126)
             -Obj IRS (Doc # 131)

 Court Minutes: Counsel for the IRS stated that there are still some pending issues regarding the debtors’ post-petition
 tax filing and payment obligations and request additional time to work on the issues. The court adjourned the hearing
 to June 1, 2023, at 1:30 p.m.

OUTCOME:
    Granted                 Denied               Approved               Allowed                   Disallowed
    In Part                 Sustained            Overruled              Settled                   Withdrawn
    Other:

      Debtor shall do the following by:                                                         or the case will be dismissed
          bring current           provide info to TR          amend plan            other:

      Plan confirmed:            Ch. 13 TR             Ch. 12 Atty.           Ch. 11 Atty         to submit proposed order

SCHEDULE:
 X Adjourned to: June 1, 2023                  at 1:30 p.m.
    Location:    X Telephone            Madison         Eau Claire        Other:
        Final/Evidentiary Hearing. Parties agree that            [hours/days] will be sufficient to hear the matter.
        Issue standard pre-hearing order           [Yes/No]         Other:

      Briefing Schedule Set:
           Taken under advisement                         Other:

      Other Schedule:

      ORDER:
         For the reasons stated from the bench
         Separate order to be entered by the Court
         Order to be submitted by:
         Order to be signed at docket no.




                                                               X      ECF
                                                                      cc: parties in interest
                                                                      cc: parties appearing
